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                                                    5   Attorneys for Defendant
                                                        ARICELA VILLA
                                                    6

                                                    7                                 IN THE UNITED STATES DISTRICT COURT

                                                    8                            FOR THE EASTERN DISTRICT OF CALIFORNIA

                                                    9

                                                   10   UNITED STATES OF AMERICA,                             Case No. 2:07-CR-515-07 WBS
                                                   11                    Plaintiff,                           STIPULATION AND
                                                                                                              [PROPOSED] ORDER
                                                   12            v.
B ARTH T OZER & D ALY LLP
                       S ACRAMENTO , C ALIFORNIA




                                                   13   ARICELA VILLA,                                        Date: August 12, 2013
                           A TTORNEYS A T L AW




                                                                                                              Time: 9:30 a.m.
                                                   14                    Defendant.                           Judge: Honorable William B. Shubb

                                                   15

                                                   16                    It is hereby stipulated and agreed to between the United States of America through

                                                   17   Michael Beckwith, Assistant U.S. Attorney, and defendant Aricela Villa, through her counsel,

                                                   18   Kresta Nora Daly, that the sentencing set for May 20, 2013 be vacated and that a new sentencing

                                                   19   date be set for August 12, 2013 at 9:30 a.m.

                                                   20   Dated: May 16, 2013.                     Respectfully submitted,
                                                   21                                            BARTH TOZER & DALY LLP
                                                   22

                                                   23                                            By    /s/ Kresta Nora Daly
                                                                                                       KRESTA NORA DALY
                                                   24                                            Attorneys for ARICELA VILLA
                                                   25

                                                   26   Dated: May 16, 2013.                     By     /s/ Kresta Nora Daly
                                                                                                        MICHAEL BECKWITH
                                                   27                                                   Assistant United States Attorney
                                                   28
                                                        {00008073}
                                                              STIPULATION AND [PROPOSED] ORDER                                     [Case No. 2:07-CR-00515-WBS]
                                                          Case 2:07-cr-00515-WBS Document 368 Filed 05/20/13 Page 2 of 2


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                                                                                                 ORDER
                                                    2
                                                                         IT IS SO ORDERED.
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                                                        Daated: May 20,
                                                                    2 2013
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B ARTH T OZER & D ALY LLP
                       S ACRAMENTO , C ALIFORNIA




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                                                              STIPULATION AND [PROPOSED
                                                                                      D] ORDER                   [C
                                                                                                                  Case No. 2:07-CR-000515-WBS]
